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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                  )
                                                           )               8:09CR141
                         Plaintiff,                        )
                                                           )
        vs.                                                )                 ORDER
                                                           )
SABRINA KING,                                              )
                                                           )
                         Defendant.                        )

        This matter is before the court on the Petition for Action on Conditions of Pretrial Release (Petition)
regarding defendant Sabrina King (King) (Filing No. 51). On June 24, 2009, King was ordered released
upon conditions pending further proceedings (Filing No. 50). King was to reside at NOVA in Omaha,
Nebraska, and to comply with various conditions of pretrial release. On July 9, 2009, Pretrial Services
Officer Jennifer Iverson submitted a Petition alleging King had violated the conditions of his release by
leaving the NOVA facility and failing to participate in a drug treatment program. A warrant for King’s arrest
was issued.
        King appeared before the undersigned magistrate judge on July 24, 2009. She was represented
by Donald L. Schense. The United States was represented by Assistant U.S. Attorney Michael P. Norris.
After being advised of the nature of the allegations, her rights, and the consequences if the allegations
were found to be true, King admitted the allegations of the Petition. The court finds the allegations of the
petition are generally true and King has violated the conditions of her release.
        The court took judicial notice of the Pretrial Services Violation Report. After providing both parties
an opportunity for allocution as to disposition and considering the report of Pretrial Services, I find the
Order Setting Conditions of Release should be revoked.
        IT IS ORDERED:
        1.      The Petition For Action on Conditions of Pretrial Release (Filing No. 51) is granted.
        2.      The June 24, 2009, Order Setting Conditions of Release of Sabrina King is hereby
revoked.
        3.      The defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded
a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility shall
deliver the defendant to the United States marshal for the purpose of an appearance in connection with
a court proceeding.


        DATED this 24th day of July, 2009.
                                                           BY THE COURT:
                                                           s/ Thomas D. Thalken

                                                           United States Magistrate Judge
